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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                   )   Criminal No. 19-295 (PJS/TNL)
                                            )
       v.                   Plaintiff,      )
                                            )   DEFENDANT=S PRETRIAL MOTION
JULIA RENE AYERS,                           )   TO DISCLOSE AND MAKE
                                            )   INFORMANTS AVAILABLE FOR
                         Defendant.         )   INTERVIEW


      Julia Rene Ayers, by and through her undersigned attorney, has filed notice of an

entrapment defense. (ECF Doc. 20) The informant used in this case was a government actor

in Ms. Ayers’ entrapment. Thus, Julia Rene Ayers, by and through counsel, hereby moves

the Court for an Order requiring the government to immediately disclose:

      1) the identity of the informant utilized by the government in the investigation of

            Ms. Ayers,

      2) the prior criminal convictions of the informant,

      3) an updated, chronological list of every communication between law enforcement

            and the informant, including texts, emails and notes from all phone calls and

            communications with the informant,

      4) any recorded or noted phone calls, texts or notes regarding the informant’s

            communications with Ms. Ayers,

      5) all aliases used by the informant, dates when the aliases were used, and the

            corresponding crimes and convictions of the informant used under these aliases,

      6) a log or record keeping of all payments made to the informant for his cooperation

            against Ms. Ayers and others,
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       7) the circumstances involving the informant becoming an informant for law

          enforcement, and

       8) all communications between the law enforcement working with the informant

          and any other law enforcement, agency or attorney prosecuting or probation

          officer supervising the informant in connection with a criminal case.

Additionally, counsel respectfully requests that the Order instruct the government to make

the informant available for interview in preparation for trial.

       Ms. Ayers submits that this information is discoverable under Federal Rule of

Evidence 16 (a)(A), (B), (E)(i) and potentially exculpatory under Brady v. Maryland, 373

U.S. 83 (1963), Giglio v. United States, 405 U.S. 150 (1972), and their progeny. However,

understanding the sensitive nature of the material sought, counsel agrees to abide by the

terms of a protective order.

       This motion is based on the indictment, the records and files in the above-entitled

action, and any and all other matters which may be presented prior to or at the time of the

hearing of said motion.


Dated: December 11, 2019                        Respectfully submitted,


                                               s/Shannon Elkins

                                                SHANNON ELKINS
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